 

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
NORTHERN DIVISION MAR
No. 2:04-CV-30-B0(1) | 0 1 2005

 

 

 

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WILLIAM DARDEN,
Plaintiff,
Vv. MOTION TO SUPPLEMENT RECORD

MARYRETH PETERS,
REGISTER OF COPYRIGHTS,

Defendant.

 

The United States of America, by and through the United
States Attorney for the Eastern District of North Carolina,
previously moved the Court to submit the relevant Administrative
Record on CD-Rom. The Court denied Defendant’s Motion.
Accordingly, in compliance with the Court's Order, Defendant
submits the original and one copy of the Administrative Record,
as required under Local Rule 5.1.

Respectfully submitted this LV day of March, 2005.

FRANK D, WHITNEY
United States Attorney

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CERTIFICATE OF SERVICE

I do hereby certify that I have this 1st day of March, 2005,

served a copy of the MOTION TO SUPPLEMENT RECORD (pleading only)

upon the below listed party by placing a copy of the same in the

U.S. Mails, addressed as follows:

Anthony J. Biller
David E. Bennett
Coats & Bennett, PLLC
1400 Crescent Green,
Cary, NC 275

Ld

Assistant Unke®@ States Attorney
Civil Division

Suite 300

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